
PER CURIAM.
Affirmed. See Fogarty v. Nationstar Mortg., LLC, 224 So.3d 313, 315 (Fla. 5th DCA 2017) (quoting Wolkoff v. Am. Home Mortg. Serv., Inc., 153 So.3d 280, 281 (Fla. 2d DCA 2014) ("In a typical foreclosure case, the plaintiff proves the amount of indebtedness through the testimony of a competent witness who can authenticate the mortgagee's business records and confirm that they accurately reflect the *482amount owed on the mortgage.") ); Wachovia Mortg., F.S.B. v. Goodwill, 199 So.3d 346, 348 (Fla. 4th DCA 2016) (holding plaintiff "presented legally sufficient evidence on the amount of damages" by introducing the payment history stating the principal balance and its witnesses' testimony confirming the payment history was accurate).
